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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                        Western Division

Thomas M. Gould, Clerk                                                                             Deputy-in-Charge
242 Federal Building                                                                      U.S. Courthouse, Room 262
167 N. Main Street                                                                        111 South Highland Avenue
Memphis, Tennessee 38103                                                                   Jackson, Tennessee 38301
(901) 495-1200                                                                                        (731) 421-9200



                                        NOTICE OF SETTING
                     Before Judge Samuel H. Mays, Jr., United States District Judge


                                               March 14, 2022


              RE:    20-2007-SHM/atc
                     American Clothing Express, Inc., et al. v. Cloudfare, Inc., et al.

      Dear Sir/Madam:

            A TELEPHONIC SCHEDULING CONFERENCE has been RESET before Judge
      Samuel H. Mays, Jr. on THURSDAY, APRIL 14, 2022 at 1:45 P.M.

             Counsel participating in the telephone conference should call in to the following
      conference line:

              Dial-in Number:       1-877-848-7030
              Access Code:          5600724#
              Participant Password: 2007#

              PLEASE REVIEW THE ATTACHED INSTRUCTIONS.

              If you have any questions, please contact me at the number provided below or contact
      Mr. Jairo Mendez, the Court’s case manager, at 901-495-1217 or
      Jairo_Mendez@tnwd.uscourts.gov.

                                                    Sincerely,

                                                    /s/ Daphne E. Rankin
                                                    Daphne E. Rankin, Chambers Paralegal
                                                    (901)495-1283
                                                    Daphne_Rankin@tnwd.uscourts.gov
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 Attachment
                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                                Office of the Clerk
 ______________________________________________________________________________

                             INSTRUCTIONS CONCERNING
                          RULE 16(b) SCHEDULING CONFERENCE

 ______________________________________________________________________________

  I. DUTY TO NOTIFY

        Since this scheduling conference may be set before the defendant[s] has been served or has
 appeared in the case, counsel for the plaintiff is responsible for notification of defendant[s] or
 defendant[s]’ counsel of the setting of the first Rule 16(b) Conference. If plaintiff’s counsel is
 unable to notify the defendant[s] or defendant[s]’ counsel, then plaintiff’s counsel shall, at least
 two (2) working days prior to the scheduled Rule 16(b) Conference, so notify the Court.


 II. DUTY TO CONFER

         Prior to the scheduling conference, counsel are required to consult regarding schedules
 for completion of discovery, filing of motions, trial and pretrial activities and other matters
 addressed in these instructions. A Joint Proposed Scheduling Order, in Word format, shall be
 submitted to the Court’s e-mail box no later than one (1) business day prior to the
 conference. E-mail address: ECF_Judge_Mays@tnwd.uscourts.gov. Submission and approval
 of the Proposed Scheduling Order WILL NOT cancel the conference.


 III. ATTENDANCE REQUIRED

         The attendance of all unrepresented parties and lead trial counsel for each represented party
 is required at the scheduling conference; the unrepresented parties and counsel must be prepared
 to address any pending motions or motions which may be raised orally at the conference. Failure
 to appear may result in the imposition of sanctions. (See ¶ VII.)

        Out-of-town counsel may request permission from the Court to handle the conference
 by telephone, provided the request is made at least THREE (3) days prior to the date of the
 hearing. The request must be made in writing to the Case Manager (e-mail is preferable)
 and must include names and telephone numbers of all participants requesting to appear by
 telephone. The conference call for the scheduling conference will be initiated by the judge’s
 chambers.
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 V.         INITIAL DISCLOSURE

         Fed.R.Civ.P. Rule 26(a)(1) & (2) and Rule 26(f) will be enforced. Therefore, in accordance
 with Fed.R.Civ.P. 26(f), the parties shall, at least 14 days prior to the Rule 16(b) scheduling
 conference, meet for discussions in accordance with Rule 26(f) and for the purpose of preparing a
 proposed discovery plan. The parties shall file a written report outlining the proposed discovery
 plan at least 4 days prior to the first conference. Counsel should refer to Form 52, Appendix of
 Forms to Fed.R.Civ.P., for a checklist of items to be discussed at the Rule 26(f) meeting and
 included in the written report. Moreover, within 10 days of the 26(f) meeting (i.e. at least 4 days
 prior to the scheduling conference), the parties 1 shall make disclosure pursuant to Rule 26(a)(1)
 without formal discovery requests. Counsel are further advised that, absent any agreement of the
 parties, no formal discovery demand may issue pending the meeting under Rule 26(f). Unless the
 parties stipulate otherwise, the number of interrogatories will be limited to 25 in accordance with
 Fed.R.Civ.P. 33, and the number of depositions will be limited to ten in accordance with
 Fed.R.Civ.P. 30.

     V. REQUEST FOR EXEMPTION FROM RULE 26

         Counsel or parties wishing to request that they not be required to comply with provisions
 of Rule 26(a) or (f) of the Federal Rules of Civil Procedure, must adhere to the following procedure
 in making the request. Requests are to be made by motion in writing in compliance with local
 rules of this court. Requests for exemption from the disclosure provisions of Rule 26(a) must be
 made at least ten days before the date disclosure is required by the rule. Requests for exemption
 from the Rule 26(f) meeting requirements must be made at least seven days before the date
 scheduled for the meeting or, if the parties have scheduled no meeting, at least twenty-one days
 before the date of the scheduling conference.

     VI. SUBJECTS AT CONFERENCE

            Generally, at the scheduling conference, the following subjects will be addressed:

 1.         The status of the case, the general nature of the claims and defenses, issues in the case, and
            potential use of experts;




 1
     Except for parties in pro se prisoner litigation.
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 2.     Jurisdictional and statute of limitations issues (all jurisdictional questions or timeliness
        questions should be reviewed in advance of the scheduling conference and, if motions have
        not already been filed, the Court should be advised at the scheduling conference that there
        are preliminary matters which require early disposition); 2

 3.     Setting of all deadlines for filing preliminary motions, the establishment of all deadlines
        for discovery (including disclosure of expert witness information where appropriate), the
        establishment of final deadlines for filing pretrial motions (including all motions for
        summary judgment), joining parties, amending pleadings, the establishment of pretrial
        conference and trial dates, and the establishment of any other appropriate deadlines. The
        court expects to set a definite trial date for this case which does not conflict with criminal
        case settings. The trial date will be consistent with the particular needs of this case and
        will be no later than eighteen months from the date of filing, unless the court certifies that
        the court’s calendar does not so permit or the complexity of the case requires a later setting.

 4.     The desire of the parties to consent to all further proceedings in the case being handled by
        the magistrate judge in accordance with 28 U.S.C. § 636(c) (including entry of final
        judgment, with any appeal directly to the Sixth Circuit Court of Appeals);

 5.     The possibility of settlement, your position regarding settlement, and the desire of the
        parties to utilize alternative dispute resolution, including the private mediation program
        plan, or whether the parties request a referral to the magistrate judge for a settlement
        conference;

 6.     Status of all document discovery(parties are encouraged to promptly exchange core
        document information and, where necessary, to promptly issue requests for production of
        documents and subpoenas duces tecum to third parties);

 7.     Any anticipated discovery problems (i.e., the necessity of protective orders, the necessity
        of inspection of facilities, witness unavailability, delays which may be occasioned because
        of an individual’s physical or mental condition, etc.);


 8.     Estimated trial time, and any special issues anticipated in connection with trial; and

 9.     Any pending motions or motions which may be raised orally at the conference.




 2
  Similarly, questions of class certification, qualified immunity, or conflict of interest should be
 raised at the first possible occasion and no later than the initial Rule 16(b) scheduling conference.
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 VII. ORDER TO BE ENTERED

        An order will be entered reflecting the results of the scheduling conference. The order will
 include deadlines for filing motions and completing discovery, and the establishment of pretrial
 conference and trial dates. Attached as Exhibit “A” to this notice is a Form Rule 16(b)
 Scheduling Order which counsel may use as a proposed order after developing appropriate
 agreed-upon deadlines.



 VIII. SANCTIONS FOR FAILURE TO APPEAR

         Failure to appear at the scheduling conference, or to comply with the directions of the Court
 set forth herein, may result in an ex parte hearing being held and the entry of such order as is just,
 including a judgment of dismissal with prejudice or entry of a default judgment, or other
 appropriate sanctions, such as attorney’s fees and expenses of opposing counsel, without further
 notice to the party who fails to appear.
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                                        EXHIBIT “A”


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                                 Western Division




 _________________________________________
                         Plaintiff,

 v.

                                                                Cv. No.


 _________________________________________
                         Defendant.

 _____________________________________________________________________________

                       RULE 16(b) SCHEDULING ORDER
 _____________________________________________________________________________

        Pursuant to written notice, a scheduling conference was held on ___________________,

 20____. Participating on behalf of the plaintiff(s) was/were ____________________________.

 Participating on behalf of the defendant(s) was/were __________________________________.

 The following schedules and deadlines were established:


 JOINING PARTIES:             ____________ for Plaintiff
                              ____________ for Defendant

 AMENDING PLEADINGS: ____________ for Plaintiff
                     ____________ for Defendant

 COMPLETING ALL DISCOVERY:
          (a)   EXPERT DISCLOSURE (Rule 26):
                ____________ (i) Plaintiff's Rule 26 Expert:
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                                       (ii) Defendant's Rule 26 Expert:
                                       (iii) Supplementation under Rule 26(e):
                (b)     DOCUMENT PRODUCTION, INTERROGATORIES and REQUESTS
                        for ADMISSIONS:
                (c)     MOTIONS TO COMPEL DISCOVERY: to be filed and served within
                        forty-five days of the default or the service of the response, answer or
                        objection, which is the subject of the motion, unless the time for filing of
                        such motion is extended for good cause shown, or the objection to the
                        default, response, answer or objection shall be waived.

 FILING DISPOSITIVE MOTIONS:

 FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

                        __________(a) for Plaintiff:
                              ____(b) for Defendant:

        Parties shall have          days after service of final lists of witnesses and exhibits to list

 objections under Rule 26(a)(3).

        This trial is expected to last       days and will be SET for JURY/NON-JURY TRIAL

 on                                                        .

        A pretrial conference will be conducted (lead counsel must be present) on

 ____________                                   , at ________ _____.m.

        A joint pretrial order, jury instructions and motions in limine are due on

 ______________________________                       .

        Absent good cause shown, the scheduling dates set by this order will not be modified or

 extended.

        SO ORDERED this _______ day of ___________________, 20_____.


                                                          ___________________________________
                                                          SAMUEL H. MAYS, JR.
                                                          UNITED STATES DISTRICT JUDGE
